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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                       Plaintiff,                           ORDER GRANTING EARLY
                                                          TERMINATION OF SUPERVISED
v.                                                                RELEASE

KRISTIE DAWN MADSEN,                                            Case No. 2:05CR625DAK

                       Defendant.                                 Judge Dale A. Kimball




       This matter is before the court on Defendant Kristie Dawn Madsen’s motion for early

termination of supervised release. On December 6, 2006, the court sentenced Defendant to 92

months incarceration with the United States Bureau of Prisons followed by a 60-month term of

supervised release. In April 2011, Defendant was released from custody and began serving her

term of supervised release. Therefore, Defendant’s term of supervised release is not scheduled to

terminate until April 2016.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and
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the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       The court has contacted Defendant’s probation officer and learned that he does not

oppose early termination. Defendant has complied with all the terms of her supervised release

and, according to her probation officer, is one of his highest functioning clients. Defendant has

undergone several treatment programs and has had consistently clean drug tests. She has gone

through counseling with her children to help in their transition back to her care. Her mother

reports that the family is well functioning and supportive. Her mother also indicates that

Defendant has had no contact with her past friends and associates and that Defendant has made

new friends who also focus on work and raising their families. While incarcerated, Defendant

used the time to complete her education, receive treatment, and gain skills to become employed

after her release. Defendant has been steadily employed while on supervised release. Her

supervisor and several co-workers wrote letters on her behalf praising her dependability and work

ethic. The letters submitted with Defendant’s motion demonstrate that she has a good support

network around her. The court realizes that Defendant has served only a small portion of the

five-year term of supervised release. However, the court believes that Defendant’s conduct

demonstrates that she has completely turned her life around. Based on Defendant’s conduct

during her term of supervised release, the court finds that an early termination of supervised

release is warranted. Accordingly, the court GRANTS Defendant’s motion for early termination


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of supervised release.

       DATED this 14th day of November, 2012.

                                         BY THE COURT:




                                         DALE A. KIMBALL
                                         United States District Judge




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